            UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF TENNESSEE
                       AT GREENEVILLE




UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )     NO. 2:06-CR-05
                                                 )
MICHAEL CHARLES GUNTER                           )




                                  ORDER

            This criminal matter is before the Court to consider the Report and

Recommendation of the United States Magistrate Judge dated July 7, 2006.

[Doc. 139]. The Magistrate Judge recommends that the defendant’ motion to

suppress the evidence obtained as a result of the execution of a search warrant

on his home be denied. The defendant has filed objections to this report. [Doc.

141].

            After careful consideration of the Report and Recommendation of

the United States Magistrate Judge, and for the reasons set out in that Report

and Recommendation which are incorporated by reference herein, it is hereby

ORDERED that this Report and Recommendation is ADOPTED and



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APPROVED, and that the defendant's motion to suppress is DENIED. [Doc.

121].



           ENTER:

                                              s/J. RONNIE GREER
                                          UNITED STATES DISTRICT JUDGE




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